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                                                   ATTORNEYS FOR THE DUGABOY INVESTMENT TRUST

                                IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE NORTHERN DISTRICT OF TEXAS
                                            DALLAS DIVISION
In re:                                                §                Case No. 19-34054
                                                      §
HIGHLAND CAPITAL MANAGEMENT, L.P.                     §                Chapter 11
                                                      §
         Debtor.                                      §

HIGHLAND CAPITAL MANAGEMENT, L.P.,                    §
                                                      §
         Plaintiff.                                   §
                                                      §
v.                                                    §
                                                      §                Adversary No.: 21-03005-sgj
NEXPOINT ADVISORS, L.P., JAMES                        §
DONDERO, NANCY DONDERO, AND THE                       §
DUGABOY INVESTMENT TRUST,                             §
                                                      §
         Defendants.                                  §


                                        NOTICE OF APPEAL




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Part 1: Identify the appellant(s)
    1.            Name(s) of appellant(s): James D. Dondero, Nancy Dondero, and The Dugaboy
                  Investment Trust
    2.            Position of appellant(s) in the adversary proceeding or bankruptcy case that is the
                  subject of this appeal:
For appeals in an adversary proceeding. For appeals in a bankruptcy case and not in
  Plaintiff                             an adversary proceeding.
X Defendants                              Debtor
  Other (describe)                        Creditor
_____________________________________ Trustee
                                           Other (describe) _______________

Part 2: Identify the subject of this appeal
    1.            Describe the judgment, order, or decree appealed from:
                  Memorandum Opinion and Order Denying Arbitration Request and Related
                  Relief [Dkt. No. 110] A copy of the order is attached hereto as Exhibit 1.

    2.            State the date on which the judgment, order, or decree was entered:

                  December 3, 2021

Part 3: Identify the other parties to the appeal

List the names of all parties to the judgment, order, or decree appealed from and the names,
addresses, and telephone numbers of their attorneys (attach additional pages if necessary):
    1.            Party:
                  James D. Dondero (Appellant)
                  Attorneys:
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    3.            Party:
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    4.            Party:
                  Highland Capital Management LP (Appellee)
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    5.            Party:

                  NexPoint Advisors LP (Other Party)

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Dated: December 16, 2021                      Respectfully submitted,

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                                              ATTORNEYS FOR THE DUGABOY INVESTMENT
                                              TRUST

                                  CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that, on December 16, 2021, a true and correct copy of
the foregoing document was served via the Court’s CM/ECF system on all parties registered to
receive notice in this case.
                                              /s/ Michael P. Aigen
                                              Michael P. Aigen




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